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                            UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION

                                                      Case No. 19-17549-BKC-RAM
                                                      Chapter 13

In re:
DOMINIQUE LALLEMAND

                  Debtor.          /

        APPLICATION FOR COMPENSATION FOR PROFESSIONAL SERVICES
             OR REIMBURSEMENT OF EXPENSES BY ATTORNEY FOR
                           CHAPTER 13 DEBTOR

        Applicant, Michael A. Frank, was retained by the Debtor to serve in this bankruptcy

case as attorney for Debtor. A copy of the retainer agreement is attached as Exhibit “A”.

Pursuant to Local Rule 2016-1(B)(2) and the “Chapter 13 Fee Guidelines”, applicant hereby

requests the court to approve compensation and reimbursement of expenses as follows:

        A. The Retainer Agreement signed by the Debtor agrees to a fee of $ 10,000.00, and

the total paid pre-petition is $ 2,500.00.

        B. The Safe Harbor Fee in this case would be $ 3,650.00, broken down as follows:

Base - $ 3,500.00; Cost - $ 150.00.

        C.      Total Fees Requested:                       $ 10,000.00

                Total Expenses to be Reimbursed:            $ 150.00

                Amount Received To-Date:                    $ 2,500.00
                (exclusive of filing fees)

                Amount to be Paid through Plan:             $ 7,500.00

        1.      The amount requested, if allowed, will be paid in full after 18 monthly

payments under the plan.

        2.      A detailed itemization of the services rendered to date and corresponding time

entries is attached as Exhibit “B”.


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        3.      Applicant estimates that an additional n/a hours will be required to be

expended in providing legal services on behalf of the debtor(s) described below:

n/a.

        4.      The following is a short statement of any unusual, troublesome or unique

aspects of this case which resulted in or will result in more than the usual amount of time

being expended and more than the usual amount of costs being incurred:



See last page of the attached fee application, if applicable.

        5.      The source of compensation previously paid to applicant was from the Debtor.

        6.      Applicant has not shared or agreed to share any compensation received in

connection with the bankruptcy case with any person or entity other than a member or

regular associate of applicant’s firm. (If such a sharing arrangement exists, it should be

disclosed in this paragraph.)

DATED: September 19, 2019
                                                   Law Offices of Michael J. Brooks,
                                                   Michael A. Frank &
                                                   Rodolfo H. De La Guardia, Jr.
                                                   Attorneys for the Debtor
                                                   Regions Bank Bldg., Suite 620
                                                   10 Northwest Le Jeune Road
                                                   Miami, FL 33126
                                                   Telephone (305) 443-4217

                                                   By     /s/ Michael A. Frank
                                                        Michael A. Frank
                                                        Florida Bar No. 339075
cc:
Nancy K. Neidich, Trustee
Dominique Lallemand, Debtor




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